Case 1:15-cv-01023-CBK Document 40-3 Filed 12/05/16 Page 1 of 5 PagelD #: 564

 

Page 1

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION
SIOUX RURAL WATER SYSTEM, )
INC., a Non-Profit

Corporation,
Plaintiff,

)
)
)
)
)
vs. ) Case No. 4:15-CV-00229-BCW
)
CITY OF WATERTOWN, a South )
Dakota Municipality; and )
WATERTOWN MUNICIPAL )
UTILITIES, an Agency of )
the City of Watertown, )
)
)

Defendants.

DEPOSITION OF RICHARD D. WESTBROOK, CPA, CFF
TAKEN ON BEHALF OF THE DEFENDANTS
JULY 1, 2016

 

 

 

EXHIBIT

MAGNA® |i 4

LEGAL SERVICES

 
Case 1:15-cv-01023-CBK Document 40-3

Filed 12/05/16 Page 2 of 5 PagelD #: 565

 

 

 

Page 6 Page 8
1 many people don't fall into, but I'm going to go 1 an agreement at that time to be engaged as an
2 through a couple of ground rules anyway. The 2 expert or were there subsequent contacts where
3 first one is I'm going to ask you verbal 3 that occurred?
4 questions, I need verbal responses. We often 4 A. I believe I was contacted about
5 communicate with nods of the head, and while that} 5 mid-February, and probably within a week or two I
6 works fine between you and me, it makes it 6 had an engagement letter, which you have a copy of
7 difficult for the court reporter, okay? 7 that in the -- or it's in my work papers that
8 A. Yes. 8 would be attached to -- or to support this.
9 Q. And make sure that I'm finished asking my 9 Q. Is it part of Exhibit 5, the engagement
10 question before you start answering it. I would 10 letter?
11 appreciate it and so would the court reporter. 11 A. Itis not. It is not.
12 I'll try to give you the same courtesy with your 12 Q. Okay.
13 answers. I can tell you I can be somewhat verbose| 13 A. But it would be my work product to develop
14 and deliberate at times so you might think I'm 14 this, that would be in there.
15 done when I'm not, okay? 15 Q. Okay.
16 A. Okay. 16 A. And I believe that would be dated on or
17 Q. Finally, if I ask you a question you don't 17 around that. So there may have been a week but it
18 understand, or if I use some word that doesn't 18 was pretty close to the time I was first
19 make any sense to you in the context in which I 19 contacted.
20 use it, don't answer that question. Simply tell 20 Q. Okay. And when you were first contacted
21 me you don't understand. I'll be happy to 21 regarding this matter, what were -- how was -- how
22 rephrase the question, okay? 22 was the problem or the need explained to you with
23 A. Yes. 23 respect to your role as an expert or potential
24 Q. That way any question you do answer I will 24 expert?
25 assume is a question you understood; is that fair? | 25 A. They indicated that it was a 1926(b) case.
Page 7 Page 9
1 A. Yes. 1 I've testified in two of those and one of them was
2 (Deposition Exhibit No. 5 was marked 2 in the last year and the other was probably 10
3 for identification.) 3 years before that, or maybe even 15, I can't
4 Q. (By Mr. Hieb) I have marked and placed 4 recall for sure. But the -- so I was familiar
5 before you a document that's been marked as 5 with at least some of what that would entail.
6 Exhibit 5. Do you recognize that? 6 They had stated that -- that they needed an expert
7 A. Yes, I do. 7 witness to make a damage calculation under
8 Q. And what is that? 8 1926(b). And so we talked for -- I don't remember
9 A. That is my report in regards to being an 9 the detailed discussions but ultimately I decided
10 expert witness in the Sioux Rural Water System 10 to accept the engagement, sent them an engagement
11 Versus the City of Watertown. 11 letter, they signed it, and I was considered
12 Q. And have you had a chance to review Exhibit] 12 engaged at that time.
13 5 that's sitting in front of you? All I'm asking 13 Q. And given the fact that you have had some
14 you to do is tell me whether that appears to be a 14 prior experience or had prior experience with
15 complete copy of the report that you submitted. 15 Section 1926 cases -- that's the right statute,
16 A. Yes, it does. 16 isn't it, 1926?
17 Q. Okay. With respect to this engagement, and | 17 A. Uh-huh.
18 when I call it "this engagement," I'm talking 18 Q. -- 1926 cases, I'm assuming you had a pretty
19 about any and all work that you're doing on behalf} 19 good idea of what information you would need to be
20 of Sioux Rural Water, when did you -- when were | 20 supplied in order to do the analysis that you
21 you first contacted? 21 needed to do to issue a report.
22 A. I believe it was probably mid-February of 22 A. Yes. There was an email I sent to them
23 2016. 23 probably about that same time that said this is
24 Q. Okay. And at that time what was the -- what | 24 what I'm wanting.
25 was the nature of the contact? Did you enter into | 25 Q. And what -- what is that laundry list, if

 

 

MAGNA©S —

(Pages 6 to 9)

LEGAL SERVICES

 
Case 1:15-cv-01023-CBK Document 40-3 Filed 12/05/16 Page 3 of 5 PagelD #: 566

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

Case No. 4:15-CV-00229-BCW

Sioux Rural Water System, Inc.
vs.

City of Watertown, A South Dakota Municipality;
And Watertown Municipal Utilities,
An Agency of The City of Watertown

Expert Witness Report of
Richard D. Westbrook, CPA, CFF
March 15, 2016

 
Case 1:15-cv-01023-CBK Document 40-3 Filed 12/05/16 Page 4 of 5 PagelD #: 567

EXPERT OPINION GENERAL DISCUSSION

The foundation and underlying support for my opinions may be found in this report and the various
worksheets attached to this report.

EXPERT OPINION #1

The System has suffered an annual loss of profits of $15,588.17 by not being able to serve the 35
disputed customers. This loss was calculated based on the activity for the years of 2013, 2014 &
2015. It is also my opinion that this loss could be applied to 2016, as well as the years prior to
2013 as such calculation is unlikely to vary in any material amount since the methodology applied
to arrive at this loss was based on a 3 year average.

EXPERT OPINION # 2

The System will continue to suffer an annual loss of profits as long as the System does not serve
the 192 disputed customers. Such losses are calculated annually to be $64,825.52 from 2017
through 2036 and $74,377.87 from 2037 through 2049.

EXPERT OPINION # 3

The combined loss for all years (including the 2013 through 2016 as noted in Opinion #1) through
the payoff of Federal debt is $2,325,655 (historical dollars). The present value of this loss
calculated to December 31, 2016 is $1,675,476.
Case 1:15-cv-01023-CBK Document 40-3 Filed 12/05/16 Page 5 of 5 PagelD #: 568

SIOUX RURAL WATER SYSTEM, INC.
CALCULATION OF TOTAL LOST PROFIT FOR DISPUTED CUSTOMERS

 

 

 

 

 

 

Pre 2017 2017 - 2036 2037 - 2049

Sales per Disputed Customer

Average gallons sold per customer per month 4,327

Average gallons sold per customer per year 51,925

Rate per thousand Gallons $ 3.60.

Incremental sales charge for average customer per year $ 186.93

Base Rate @ $37.00 X 12 months 444.00

Gross Sales per Average Customer $ 630.93 $ 630.93 $ 630.93
Cost of Water Sold per Disputed Customer

Variable Costs for Sioux Treatment Plant $ 1.21 -§ 1.21 § 1.21

Variable Costs for Total System 2.38 2.38 2.38

Additional Costs for Pipe Improvements - 1.75 0.93

Additional Costs for Well Field Improvements > 0.31 i 0.17

Cost per thousand Gallons $. 3.59 § 5.65 $ 4.69

Annual Cost per Average Customer $ 186.41 $ 293.30 $ 243.55
Calculated Annual Gross Profit per Disputed Customer $ 444.52 $ 337.63 $ 387.38
Calculated Annual Gross Profit for 35 Disputed Customers $ 15,558.17 i
Calculated Annual Gross Profit for 192 Disputed Customers $ 64,825.52 $ | 74,377.87

Calculated Total Gross Profit for Period of Federal Debt $ 1,296,510.00 $ — 966,912.00

 

2013 - 2016 2017 - 2036 237 - 2049
Calculated Total Lost Profit for Disputed Customers

rate as of December 31, 2015 (2.0%), all $._.1,068,762.00 $ 541,924.00

Net present value, discount rate based en IRS annuity
3 64,790.00
calculations made to December 31, 2016

Total present value of calculated lost profit $ _1,675,476.00
11
